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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

FAMILY REHABILITATION, INC.,   §
d/b/a FAMILY CARE TEXAS, d/b/a §
ANGELS CARE HOME HEALTH,       §
                               §
     Plaintiff,                §
                               §                         Civil No. 3:17-CV-3008-K
v.                             §
                               §
ALEX M. AZAR, II, SECRETARY OF §
THE UNITED STATES DEPARTMENT §
OF HEALTH AND HUMAN            §
SERVICES; and SEEMA VERMA,     §
ADMINISTRATOR FOR THE          §
CENTERS FOR MEDICAID SERVICES, §
                               §
     Defendants.               §

                                SCHEDULING ORDER

        The Court, having considered the parties’ Joint Report filed November 15, 2018,
finds that the following order should be entered pursuant to Fed. R. Civ. P. 16(b), and
the local rules of this Court, to schedule this case for disposition and, if disposition by
trial is needed, to expedite the trial. Unless otherwise ordered or specified herein, all
limitations and requirements of the Federal Rules of Civil Procedure, as amended, must
be observed.

1.      This Order shall control the disposition of this case. The deadlines set forth
        in this Scheduling Order may be extended only by formal written motion to the
        Court and only upon a showing of good cause. Any requested extension of a
        pretrial deadline shall not affect the trial date or any other pretrial
        deadlines. The Court will not grant motions to continue the trial setting
        absent exigent circumstances, even if the parties file an agreed motion.

2.      Pursuant to Local Rule 16.3(a), the parties to this case shall enter into settlement
        negotiations as early as possible.


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3.      The parties are ordered to complete mediation no later than March 20, 2019
        and file a Mediation Report describing the status of settlement negotiations no
        later than March 27, 2019. The parties’ obligation to file a Mediation Report
        is separate from any reporting requirements of the mediator.

4.      No later than 30 days from the date of this order, the parties shall submit a
        Joint Designation of Mediator in which the parties either name an agreed
        mediator or state that the parties cannot agree to a mediator.

        If plaintiff(s) and defendant(s) have not already filed a Certificate of Interested
        Persons with the Clerk of Court, they are directed to do so no later than 14
        days from the date of this order so that the Court may ensure that recusal is
        not necessary.

5.      This case is set for BENCH trial on the Court’s three-week docket beginning
        September 9, 2019. Counsel and the parties shall be ready for trial on two (2)
        days notice at any time during this three-week period. Any potential conflicts
        must be called to the attention of the Court in writing within ten (10) days from
        the date of this order.

6.      All motions requesting leave to join parties or to amend pleadings shall be filed
        by January 15, 2019.

7.      All motions that would dispose of all or any part of this case (including all
        motions for summary judgment), shall be filed by March 15, 2019.

8.      Responses to motions must be filed within twenty-one (21) days of the motion.

9.      Unless otherwise directed by order, the parties must make the disclosure required
        by Fed. R. Civ. P. 26(a)(3)(A)-(B) by July 24, 2019. Within 14 days thereafter,
        a party must serve and file a list disclosing (i) any objections to the use under
        Rule 32(a) of a deposition designated by another party under rule 26(a)(3)(A) -
        (ii) any objection, together with the grounds therefore, that may be made to the
        admissibility of materials identified under Rule 26(a)(3)(A)(iii), if any.

10.     By February 15, 2019 all discovery, including discovery concerning expert
        witnesses, shall be completed.

11.     By August 19, 2019 all pretrial material shall be filed with the Court. Mailing

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   these materials on this date is insufficient. The pretrial materials must include
   the following:

   a.    A joint pretrial order shall be submitted by the plaintiff’s attorney which
         covers each of the matters listed in Local Rule 16.4 and which states the
         estimated length of trial and whether the case is a jury or non-jury trial.
         If an attorney for either party does not participate in the preparation of the
         joint pretrial order, the opposing attorney shall submit a separate pretrial
         order with an explanation of why a joint order was not submitted.
         However, failure to agree upon content or language is not an excuse for
         submitting separate pretrial orders because each party may submit its
         version of any disputed matter in the joint pretrial order. If the joint
         pretrial order is approved by the Court, it will control all subsequent
         proceedings in this case.

   b.    Each party shall provide a list of witnesses and provide (i) the name and
         address of each witness and (ii) a brief narrative of the testimony to be
         covered by each witness. The parties must also divide its list of witnesses
         into groups of “probable witnesses,” “possible witnesses,” “experts,” and
         “record custodians.”

         Pursuant to Fed. R. Civ. P. 16(c)(2)(O), and section VII of the United
         States District Court for the Northern District of Texas Civil Justice
         Expense and Delay Reduction Plan, the Court intends to impose a
         reasonable limit on the time allowed for presenting evidence in this case.
         Accordingly, the parties must also state the expected duration of direct and
         cross examination of each witness.

   c.    Each party shall file a list of exhibits and a designation of portions of
         depositions to be offered at trial. The list of exhibits shall describe the
         documents or things in numbered sequence. The documents or things to
         be offered as exhibits shall be numbered by attachment of labels to
         correspond with the sequence on the exhibit list. In addition, counsel for
         each party intending to offer exhibits shall exchange a complete set of
         marked exhibits with opposing counsel; and shall deliver on the day the
         case is called for trial, a set of marked exhibits to the Court’s chambers
         (except for large or voluminous items that cannot be easily reproduced).
         All Exhibits must be provided to the Court and opposing counsel in
         PORTRAIT FORMAT not Landscape Format. Each exhibit list shall be

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             accompanied by a written statement, signed by counsel for each party
             (except the party offering the exhibit) stating as to each exhibit either (i)
             the parties agree to its admissibility or (ii) the admissibility of the exhibit
             is objected to, identifying the nature and legal basis of the objection, and
             the names of the party or parties urging the objection. Counsel for the
             party proposing to offer the exhibit shall be responsible for coordinating
             activities related to preparation of such a statement. The Court may
             exclude any exhibit offered at trial unless such a statement has been filed
             in a timely manner.

      d.     Requested jury instructions shall be filed by each party. Each proposed
             instruction or conclusion of law shall be accompanied by citation to
             statutory or case authority and/or pattern instructions. The parties should,
             to the extent possible, rely on authority from the U.S. Supreme Court and
             Fifth Circuit. The parties shall submit a hard copy of the proposed
             instructions or conclusions and email a Word or Wordperfect version to
             Kinkeade_Orders@txnd.uscourts.gov.

      e.     In a non-jury case, each party having the burden of persuasion on an issue
             shall file proposed findings of fact and conclusions of law accompanied by
             citation to statutory or case authority. Within five (5) days thereafter, any
             opposing party shall serve proposed findings and conclusions with
             authority on that issue, numbered in paragraphs corresponding to those
             filed by the party with the burden of proof.

      f.     Motions in limine, if any, shall be filed by each party. Motions in limine
             must be limited to matters actually in dispute after conference with
             opposing counsel.

      g.     Each party shall file proposed voir dire questions, if any, it would like the
             Court to consider asking the jury panel.

      h.     Trial briefs, if any, shall be filed by each party. In the absence of an order
             from the Court, trial briefs are not required, but are welcome.

12.   On the day the case is called for trial, additional copies of the list of witnesses and
      list of exhibits shall be delivered by each party to the court reporter.



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13.   At least fourteen (14) days before the trial date, the parties and their respective
      lead counsel shall hold a face-to-face meeting to discuss settlement. Individual
      parties and their counsel shall participate in person, not by telephone or other
      remote means.        All other parties shall participate by representative or
      representatives, in addition to counsel, who shall have unlimited settlement
      authority and who shall participate in person, not by telephone or other remote
      means. If a party has liability insurance coverage as to any claim made against
      that party in this case, a representative of each insurance company providing such
      coverage, who shall have full authority to offer policy limits in settlement, shall
      be present at, and participate in, the meeting in person, not by telephone or other
      remote means. At this meeting, the parties shall comply with the requirements
      of Local Rule 16.3.

14.   Within seven (7) days after the settlement meeting, the parties shall jointly
      prepare and file a written report, which shall be signed by counsel for each party,
      detailing the date on which the meeting was held, the persons present (including
      the capacity of any representative), a statement regarding whether meaningful
      progress toward settlement was made, and a statement regarding the prospects of
      settlement.

15.   This Court orders the parties not to include “private or sensitive information in
      any document filed with the Court unless [it] is necessary to the case.” This
      includes but is not limited to social security numbers, taxpayer identification
      numbers, financial account numbers, minors names, and dates of birth.

16.   Judge's Courtesy Copy of Documents Filed by Electronic Means:

      In civil cases, Judge Kinkeade requires parties to provide copies of all dispositive
      motions, responses, replies and appendices thereto, and any filing totaling more
      than 25 pages in length. Copies must be printed on front side only, not
      front-back. These copies must be delivered to the Clerk’s office within three (3)
      business days of the filing date. Failure to comply with this requirement may result
      in the party’s document being unfiled by the Court. Furthermore, all hard copies
      must be properly bound either by sufficiently affixed staple, ACCO fastener, spiral
      binding, or, for a voluminous document, a 3-ring binder. Appendices and other
      documents fastened by paper clips, binder clips, rubber bands, or any other means
      are unacceptable. Exhibits must be tabbed, and the exhibits must be in
      PORTRAIT FORMAT not landscape format.



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17.   Local Counsel must sign all documents filed in this case pursuant to Fed. R.
      Civ. P. 11, and also comply with Local Rule 83.10(b).

18.   Upon making an appearance in a case, Judge Kinkeade requires every
      attorney (not just lead attorneys) to provide their cell phone numbers where
      they can be reached at any time. This information is to be filed “Under
      Seal” entitled “Attorney Contact Information”. If not already filed with the
      Court, any attorneys shall file the required document within 14 days from
      the date of this order.

19.   Should any party or counsel fail to cooperate in accomplishing anything required
      by this order, such party or counsel or both may be subject to sanctions, including
      dismissal or entry of default without further notice.

      SO ORDERED.

      Signed November 30th, 2018.

                                                _____________________________
                                                ED KINKEADE
                                                UNITED STATES DISTRICT JUDGE




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